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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §    CASE NO. 9:16cr8-1
                                                §
 CESAR HERNANDEZ a/k/a Comdte                   §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United States

 Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

 Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

 felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

 States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

 On October 4, 2016 this cause came before the undersigned United States Magistrate Judge for

 entry of a guilty plea by the defendant, Cesar Hernandez a/k/a Comdte, on Count One of the

 charging Indictment filed in this cause.

        Count One of the Indictment charges that sometime in 2011, the exact date being

 unknown to the Grand Jury, and continuing thereafter until August 1, 2015, in the Eastern

 District of Texas and elsewhere, defendant Cesar Hernandez a/k/a Comdte, and co-defendants

 both known and unknown to the grand jury, knowingly and intentionally conspired and agreed

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 with each other, and with persons known and unknown to the Grand Jury, to distribute and to

 possess with the intent to distribute a Schedule II controlled substance, namely, a mixture or

 substance containing a detectable amount of cocaine, all in violation of 21 U.S.C. § 846.

        Defendant, Cesar Hernandez a/k/a Comdte, entered a plea of guilty to Count One of the

 Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a. That Defendant, after consultation with counsel of record, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this cause by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

        b. That Defendant and the Government have entered into a plea agreement and a plea

 agreement addendum which were addressed in open court and entered into the record.

        c. That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

        d.   That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crimes charged under 21

 U.S.C. § 841(a)(1).



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                                   STATEMENT OF REASONS

         As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

 this case were to proceed to trial the Government would prove beyond a reasonable doubt,

 through the sworn testimony of witnesses, including expert witnesses, as well as through

 admissible exhibits, each and every essential element of the crime charged in Count One of the

 Indictment. The Government would also prove that the defendant is one and the same person

 charged in the Indictment and that the events described in Information occurred in the Eastern

 District of Texas and elsewhere. The Court incorporates the proffer of evidence described in

 detail in the factual basis and stipulation in support of the guilty plea.

         Defendant, Cesar Hernandez a/k/a Comdte, agreed with and stipulated to the evidence

 presented in the factual basis.       Counsel for Defendant and the Government attested to

 Defendant’s competency and capability to enter an informed plea of guilty. The Defendant

 agreed with the evidence presented by the Government and personally testified that he was

 entering his guilty plea knowingly, freely and voluntarily.



                                 RECOMMENDED DISPOSITION

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the guilty plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the charging Indictment on file in this

 criminal proceeding.     The Court also recommends that the District Court accept the plea

 agreement and plea agreement addendum pursuant to the Local Rules for the United States

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 District Court for the Eastern District of Texas and Federal Rule of Criminal Procedure 11(c).

 Accordingly, it is further recommended that, Defendant, Cesar Hernandez a/k/a Comdte, be

 finally adjudged as guilty of the charged offense under Title 21, United States Code, Section

 846.

        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject the plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement and addendum, the federal sentencing

 guidelines and/or the presentence report because the sentencing guidelines are advisory in

 nature. The District Court may defer its decision to accept or reject the plea agreement and

 addendum until there has been an opportunity to consider the presentence report. See FED. R.

 CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise Defendant in

 open court that it is not bound by the plea agreement and Defendant may have the opportunity to

 withdraw the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM. P.

 11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty plea, the

 disposition of the case may be less favorable to Defendant than that contemplated by the plea

 agreement or addendum. Defendant has the right to allocute before the District Court before

 imposition of sentence.



                                          OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

 (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

 failure to object bars that party from: (1) entitlement to de novo review by a district judge of

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     proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

     1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual
.
     findings and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto.

     Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by

     Congress and the courts require that, when a party takes advantage of his right to object to a

     magistrate’s findings or recommendation, a district judge must exercise its nondelegable

     authority by considering the actual evidence and not merely by reviewing and blindly adopting

     the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th

     Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                SIGNED this the 5th day of October, 2016.




                                                   ____________________________________
                                                   KEITH F. GIBLIN
                                                   UNITED STATES MAGISTRATE JUDGE




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